










		



NUMBER 13-09-00254-CV



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG


 



	

CHARLES WARD, ARNE NOREM, AND 

BRADFORD M. CONDIT, 	Appellants,


v.



EDNA DAVIS,	Appellee.

	




On Appeal from the 319th District Court 


of Nueces County, Texas.






MEMORANDUM OPINION


	

Before Chief Justice Valdez and Justices Yañez and Vela


Memorandum Opinion Per Curiam


	On May 7, 2009, appellants, Charles Ward and Arne Norem, represented by
Bradford M. Condit, perfected an appeal from a final judgment rendered against them in
favor of appellee, Edna Davis, on February 6, 2009.  On May 20, 2009, Davis filed a
"Notice of Appeal in the Event of Remand and Objection to Defendants' Notice of Limited
Appeal."  See Tex. R. App. P. 26.1(d).  On June 3, 2009, Bradford M. Condit, who was also
a party to the proceedings below, filed a  notice of appeal from the final judgment rendered
on February 6, 2009, and further filed a motion to dismiss Davis's notice of appeal for want
of jurisdiction.      

	On August 10, 2009, and again on October 8, 2009, the Clerk of this Court notified
appellants that the clerk's record in the above cause was originally due on June 26, 2009,
and that the Deputy District Clerk, Arnold Garcia, had notified this Court that appellants
failed to make arrangements for payment of the clerk's record.  The Clerk of this Court
notified appellants of this defect so that steps could be taken to correct the defect, if it
could be done.  See Tex. R. App. P. 37.3, 42.3(b),(c).   Appellants were advised that, if the
defect was not corrected within ten days from the date of receipt of this notice, the appeal
would be dismissed for want of prosecution.  While appellants provided the Court with
further briefing regarding the timeliness of the notices of appeal, appellants failed to
respond to the Court's notices insofar as they have failed to secure and pay for the clerk's
record.   

	The Court, having examined and fully considered the documents on file in this
appeal, is of the opinion that the appeal should be dismissed.  See id. 37.3, 42.3(b),(c). 
Accordingly, this appeal is DISMISSED FOR WANT OF PROSECUTION.						

							PER CURIAM

Delivered and filed

the 14th day of January, 2010. 



	


